                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                       Plaintiff,                     )
                                                      )
 v.                                                   )     No. 3:09-CR-141
                                                      )    (JORDAN/GUYTON)
 LANCE BARABAS,                                       )
                                                      )
                       Defendant.                     )
                                                      )


                                MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This case is before the Court for disposition of the Defendant’s Motion for

 Reconsideration of Pretrial Detention [Doc. 101] filed on December 12, 2009. A hearing on the

 motion was scheduled before the undersigned for January 7, 2010. Because the Defendant now

 seeks to withdraw the motion [Doc. 119], the hearing is hereby canceled and the motion [Doc. 101]

 is DENIED as moot.

        IT IS SO ORDERED.

                                                      ENTER:


                                                           s/ H. Bruce Guyton
                                                      United States Magistrate Judge




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